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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


                                          MDL Docket No. 2800
In re: Equifax Inc. Customer              No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                          CONSUMER ACTIONS

                                          Chief Judge Thomas W. Thrash, Jr.



        CONSUMER PLAINTIFFS’ MOTION FOR APPEAL BOND

      Consumer Plaintiffs respectfully request this Court issue an order requiring

Objectors/Appellants Theodore H. Frank, David R. Watkins, Mikell West, George

W. Cochran, Christopher Andrews, and Shiyang Huang each to post appeal bonds

in the amount of $20,000. As shown in the memorandum in support, the requested

appeal bonds are authorized by Federal Rules of Appellate Procedure 7 and 8 and

are appropriate under the facts. A proposed Order is submitted herewith.

      WHEREFORE, Consumer Plaintiffs respectfully request that this Court

order each Objector/Appellant to:

      Post an appeal bond in the amount of $20,000, or deposit into the Court

registry cash in the amount of $20,000; and
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      File with the Clerk of Court and serve on class counsel proofs of satisfaction

of the bond requirements within 10 days of the Court’s order.



Dated: March 30, 2020                 Respectfully submitted,

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                                     Consumer Plaintiffs’ State Court
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                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed with this Court via its CM/ECF

service on March 30, 2020, which will send notification of such filing to all

counsel of record.

                                      /s/ Norman E. Siegel




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